          Case 1:20-cv-00080-JMC Document 345 Filed 04/19/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF WYOMING
                            __________________________________

THE TRIAL LAWYERS COLLEGE, a
nonprofit corporation,

                                      Plaintiff,
                                                   Case Number: 1:20-CV-00080-JMC-GJF
vs.

GERRY SPENCES TRIAL LAWYERS
COLLEGE AT THUNDERHEAD RANCH, a
nonprofit corporation, and GERALD L.
SPENCE, JOHN ZELBST, REX PARRIS,
JOSEPH H. LOW, KENT SPENCE, JOHN
JOYCE, and DANIEL AMBROSE,
individuals, and GERRY SPENCE METHOD
AT THUNDERHEAD RANCH, INC., a
nonprofit corporation,

                                   Defendants,

GERALD L. SPENCE and REX PARRIS,

                       Counterclaim Plaintiffs,

vs.

THE TRIAL LAWYERS COLLEGE, a
nonprofit corporation, JOHN SLOAN, JAMES
R. CLERY, JR., MILTON GRIMES, DANA
COLE, MAREN CHALOUPKA, and ANNE
VALENTINE,
                                                   .
      Counterclaim and Third-Party Defendants.
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                            ORDER TO PRODUCE DISCOVERY
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        For the reasons set forth on the record during the Court’s telephonic discovery hearing on

April 18, 2022, see ECF 344 (clerk’s minutes), IT IS ORDERED that F-Warriors shall, no later
         Case 1:20-cv-00080-JMC Document 345 Filed 04/19/22 Page 2 of 2




than April 25, 2022, either (1) enter into a stipulation with TLC and Spence Defendants that F-

Warriors’ list of TLC alumni is identical to the list produced by TLC or (2) produce, subject to the

Court’s protective order [ECF 91], F-Warriors’ most recent version of the TLC alumni list.

       IT IS FURTHER ORDERED that F-Warriors shall (1) as soon as possible, begin

producing (on a rolling basis) all documents requested by Spence Defendants in ¶ 3 of its subpoena

to F-Warriors (i.e., “[a]ll communication between [F-Warriors] and TLC related to or discussing

any of the Spence Defendants from April 13, 2020 to the present”) and (2) finish producing all

such documents no later than May 9, 2022.

       IT IS FINALLY ORDERED that F-Warriors’ disclosures shall include the unredacted

versions of the six emails that F-Warriors Board President Emily Thomas submitted to the Court

for in camera review. Any such disclosures shall be treated in accordance with the protective

order [ECF 91] filed in September 2020.

       SO ORDERED.




                                              ________________________________________
                                              THE HONORABLE GREGORY J. FOURATT
                                              UNITED STATES MAGISTRATE JUDGE




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